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                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA

 (1) EDWARD R. STAMPS, individually and(2)
TINA L. STAMPS, individually
                                      Plaintiff,
 vs.                                                           Case No.: 21-cv-00254-JFH-SH


 (1) SERGIO B. NAVARETTE, individually and(2)
RAPID LOGISTICS, LLC, a Texas Limited Liability
Corporation, d/b/a RAPID TRANSPORT and(3)
RAPID LEASING TRUCKING, LLC                                    CORPORATE DISCLOSURE STATEMENT
                                     Defendant.

  Pursuant to Fed.R.Civ.P. 7.1, which states:
       A nongovernmental corporate party to an action or proceeding in a district court must file a statement that
       identifies any parent corporation and any publicly held corporation that owns 10% or more of its stock or
       states that there is no such corporation.

                                             Rapid Leasing Trucking, LLC
                                                   [name of party]

  who is a (check one)   ☐ PLAINTIFF          ☒ DEFENDANT           in this action, makes the following disclosure:

  1.     Is party a publicly held corporation or other publicly held entity?
                (Check one)    ☐ YES          ☒ NO

  2.     Does party have any parent corporations?
                (Check one)    ☐ YES          ☒ NO
         If YES, identify all parent corporations, including grandparent and great-grandparent corporations:

  3.     Is 10% or more of the stock of party owned by a publicly held corporation or other publicly held
         entity?
                (Check one)    ☐ YES          ☒ NO
         If YES, identify all such owners:

  4.     Is there any other publicly held corporation or other publicly held entity that has a direct financial
         interest in the outcome of the litigation?
                (Check one)    ☐ YES          ☒ NO
         If YES, identify entity and nature of interest:

  5.     Is party a trade association?
                (Check one)    ☐ YES          ☒ NO
         If YES, identify all members of the association, their parent corporations, and any publicly held
         companies that own 10% or more of a member’s stock:
                                                           1                          Corporate Disclosure Statement CV-24 (05/2020)
    Case 4:21-cv-00254-JFH-SH Document 4 Filed in USDC ND/OK on 06/23/21 Page 2 of 2


DATED this 23rd day of           June      , 2021 .

                                    Signature: s/ Jake G. Pipinich

                                Printed Name: Jake Pipinich - attorney

                                  Bar Number: 22687

                                  Firm Name: Pierce Couch Hendrickson Baysinger & Green, LLP

                                        Address: P.O. Box 239

                        City, State, Zip Code: Tulsa, OK 74101

                                   Phone/Fax: (Phone) 918-583-8100             (Fax) 918-583-8107

                                Email Address: jpipinich@piercecouch.com


                                          CERTIFICATE OF SERVICE

I hereby certify that on         June 23, 2021    (Date), I electronically transmitted the foregoing document to the
Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants (names only are sufficient):

      Nathan E. Barnard
      Barnard Law Firm
      nbarnard@barnardlawfirm.com

      Attorney for Plaintiffs
                                                       s/ Jake G. Pipinich
                                                       Signature




                                                         2                            Corporate Disclosure Statement CV-24 (05/2020)
